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10 JAMES SHAYLER
11
                                UNITED STATES DISTRICT COURT
12
                           CENTRAL DISTRICT OF CALIFORNIA
13
14
15 JAMES SHAYLER, an individual,              Case No.: 2:20-cv-01882-RAO
16                 Plaintiff,                 Hon. Rozella A. Oliver
17
           v.
18                                            PLAINTIFF’S REQUEST TO
19 EHAB S. YACOUB, an individual;             STRIKE LATE-FILED
   LORINE A. MIKHAEIL, an individual;         OPPOSITION TO PLAINTIFF’S
20 and DOES 1-10,                             MOTION FOR ATTORNEY FEES
21
             Defendants.
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                                         1
                PLAINTIFF’S REQUEST TO STRIKE LATE FILED OPPOSITION
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 1         Plaintiff respectfully requests that this Honorable Court strike Defendants’
 2
     late-filed opposition (ECF Nos. 95 and 96) to plaintiff’s motion for attorney fees.
 3
           Throughout the course of this lawsuit Defendants Ehab S. Yacoub and Lorine
 4
 5 A. Mikhaeil (Defendants) have repeatedly ignored and violated the Federal Rules of
 6
     Civil Procedure and the Local Rules of the Central District. This repeated violation
 7
 8 of the rules reflects bad faith and an obvious desire to prejudice plaintiff by way of
 9 ambush.
10
           Most recently, Defendants filed their opposition to plaintiff’s motion for
11
12 attorney fees (see ECF Nos. 95 and 96) on October 11, 2021, a full nineteen (19)
13 days after it was due1, and only two (2) days prior to the then-scheduled hearing
14
     date, leaving no time for Plaintiff to file his reply brief. Now that the hearing has
15
16 been taken off calendar and the motion under submission, Plaintiff has no
17 opportunity to reply to Defendants’ late-filed opposition. Should Plaintiff now
18
     decide to file a reply to Defendants’ late-filed opposition, Plaintiff’s filing would
19
20 also be late and Plaintiff’s counsel is put in the impossible position of being forced
21 to drop all other matters and immediately work on a reply to an off-calendar,
22
   innappropriately filed opposition. That is not fair and it is prejudicial, and for these
23
24 reasons alone the late-filed opposition (ECF Nos. 95 and 96) should be stricken.
25         This is not the first time Defendants have intentionally flouted the rules of
26
27        Per Local Rule 7-9 opposition papers shall be filed and served “not later than
           1

28 twenty-one (21) days before the date designated for the hearing of the motion.”
                                             2
          PLAINTIFF’S REQUEST TO STRIKE LATE FILED OPPOSITION
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 1 this Court, however. This has happened repeatedly throughout this matter which
 2
     reflects Defendants’ bad faith and desire to ambush Plaintiff. The following are
 3
     additional examples of Defendants’ repeated violations of the Rules in descending
 4
 5 order of occurrence:
 6
                 1.     On October 6, 2021, Defendants filed their motion to continue
 7
 8 Plaintiff’s motion for attorney fees (see ECF Nos. 90 and 91), without meeting and
 9 confering with Plaintiff’s counsel as required per Local Rule 7-3. In fact,
10
     Defendants never even bothered to contact Plaintiff’s counsel to even attempt to
11
12 meet and confer or to informally resolve the dispute, as required. Rather,
13 Defendants just filed their motion, without any notice or request to Plaintiff to meet
14
     and confer or attempt to resolve the dispute without the need for judicial
15
16 intervention.
17               2.     On September 9, 2021, 2021, Defendants filed their motion to
18
     vacate (see ECF No. 83), without meeting and confering with Plaintiff’s counsel as
19
20 required per Local Rule 7-3. In fact, Defendants never even bothered to contact
21 Plaintiff’s counsel to even attempt to meet and confer or to informally resolve the
22
   dispute, as required. Rather, Defendants just filed their motion, without any notice
23
24 or request to Plaintiff to meet and confer or attempt to resolve the dispute without
25 the need for judicial intervention.
26
               3.      On June 8, 2021, three (3) days before the hearing on Plaintiff’s
27
28 second summary judgment motion and six (6) days after Plaintiff had already filed
                                      3
             PLAINTIFF’S REQUEST TO STRIKE LATE FILED OPPOSITION
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 1 his reply brief in support of the motion, Defendants filed supplemental declarations
 2
     of Ehab Yacoub (see ECF No. 60) and Saher Yassa (see ECF No. 60-1). With these
 3
     late-filed declarations Defendants attempted to introduce new, previously
 4
 5 undisclosed evidence and new arguments not presented in their opposition to
 6
     Plaintiff’s motion. This was again another bad faith attempt to ambush and thereby
 7
 8 prejudice Plaintiff.
 9               4.       On April 9, 2021, five (5) days before the hearing on Plaintiff’s
10
     first summary judgment motion, Defendants filed the declaration of Saher Yassa
11
12 (see ECF No. 51). With this late-filed declaration, Defendants attempted to
13 introduce new, previously undisclosed evidence and new arguments not presented
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     in their opposition to Plaintiff’s motion. This was again another bad faith attempt to
15
16 ambush and thereby prejudice Plaintiff.
17               5.       On September 15, 2020, exactly one (1) day before the hearing
18
     on Plaintiff’s motion to compel, Defendants filed their “response” in opposition to
19
20 Plaintiff’s motion to compel (see ECF No. 34) in the form of Mr. Badkoubehi’s
21 declaration. This late filed opposition was filed a full twenty (20) days after it was
22
   due, and only one (1) day prior to the then-scheduled hearing date, thereby
23
24 depriving Plaintiff an opportunity to reply. This was again another bad faith
25 ambush of Plaintiff which prejudiced Plaintiff.
26
         The above are only a few examples of Defendants’ intentional bad faith
27
28 actions taken throughout the course of this lawsuit in violation of the Rules of this
                                      4
             PLAINTIFF’S REQUEST TO STRIKE LATE FILED OPPOSITION
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 1 Court. These bad faith actions are clearly designed to ambush Plaintiff and thereby
 2
     prejudice his prosecution of this matter. Defendants have been intentionally evasive
 3
     and engaged in gamesmanship at every turn, including, ignoring emails of
 4
 5 Plaintiff’s counsel, refusing to meet and confer when requested and obstructing
 6
     discovery 2.
 7
 8         All of these actions taken together have also had the intended consequence of

 9 putting Plaintiff’s counsel through the proverbial “wringer” and thereby multiplying
10
     the amount of time Plaintiff’s counsel was forced to dedicate to this matter and
11
12 thereby driving up Plaintiff’s counsel’s incurred attorney fees and costs.
13         The Court has the authority to strike late filed opposition papers, especially
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     when as here, the conduct is repeated, in bad faith and causes prejudice to the
15
16 moving party. See for example, Carter v. Bank of America., 2015 U.S. Dist. LEXIS
17 186910 (C.D. Cal. October 22, 2015), wherein the court stated with respect to late-
18
     filed oppositions, a motion to strike the oppositon as untimely is proper rather than
19
20 rewarding imprudence with consideration.
21 ///
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   ///
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24 ///
25
26        Defendants’ obstruction of discovery resulted in this Court granting Plaintiff’s
           2

   motion to compel (see ECF No. 46), and the Court’s order directing Defendant to
27 respond to Plaintiff’s request for sanctions. Plaintiff is awaiting a further order from
28 the Honorable Court as appropriate regarding Plaintiff’s request for sanctions.
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          PLAINTIFF’S REQUEST TO STRIKE LATE FILED OPPOSITION
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 1         For the foregoing reasons, Plaintiff respectfully requests that this Honorable
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     Court strike Defendants’ late-filed opposition (ECF Nos. 95 and 96) to plaintiff’s
 3
     motion for attorney fees.
 4
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 6
     Dated: October 13, 2021           THE LAW OFFICE OF HAKIMI & SHAHRIARI
 7
 8                                     By: /s/Anoush Hakimi
                                          Anoush Hakimi
 9                                        Attorneys for Plaintiff James Shayler
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             PLAINTIFF’S REQUEST TO STRIKE LATE FILED OPPOSITION
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          PLAINTIFF’S REQUEST TO STRIKE LATE FILED OPPOSITION
